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  6                      IN THE UNITED STATES DISTRICT COURT
  7                           FOR THE DISTRICT OF ARIZONA
  8
  9   IN THE MATTER OF:
 10   Kenneth Alan Conner,                            No. CV-19-01076-PHX-DWL
 11                       Debtor.                     BK NO. 2:14-BK-14280-SHG
 12                                                   ADV. NO. 2:14-AP-00823-SHG
 13   Kenneth Alan Conner
      Deanna Conner,
 14
                          Appellant,                        NOTICE OF DOCKETING
 15                                                         BANKRUPTCY MATTER
      v.
 16
      Wilmington Trust NA,
 17
                          Appellee.
 18
 19
              TAKE NOTICE that an appeal to the United States District Court in the above
 20
      entitled case has been received on February 15, 2019, and has been assigned the above
 21
      civil case number. This case is assigned to the Honorable Dominic W. Lanza.       Any
 22
      documents to be filed in the matter should bear the civil case number.
 23
              PURSUANT to Federal Rules of Bankruptcy Procedure 8006 and Local Rule of
 24
      Bankruptcy Appeal Procedure 8007-1, the original record on appeal is to be retained by
 25
      the Clerk of the Bankruptcy Court.
 26
              Failure to comply with provisions of Federal Rules of Bankruptcy Procedure and
 27
      the Local Rules of Bankruptcy Appeal Procedure may result in the Court taking action
 28



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  1   for failure to perfect the appeal, including possible dismissal pursuant to Rule 8020-1 of
  2   the Local Rules of Bankruptcy Appeal Procedure.
  3
  4         Dated this 19th day of February, 2019.
  5
  6
  7                                            Brian D. Karth
                                               District Court Executive/Clerk of Court
  8
  9
                                               s/ D. Draper
 10                                      By    Deputy Clerk
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